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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            ROANOKE DIVISION

YUNSONG ZHAO,                  )
                               )
          Plaintiff,           )     Case No. 7:18cv00189
                               )
v.                             )
                               )
VIRGINIA POLYTECHNIC INSTITUTE ) By: Michael F. Urbanski
AND STATE UNIVERSITY, et al.,  ) ChiefUnited States District Judge
                                                   )
              Defendants.                          )


                              MEMORANDUM OPINION

       Yunsong ''Bellamy" Zhao, a citizen of China, came to the United States on an F-1

student visa to study at Virginia Polytechnic Institute and State University (''Virginia Tech")

in July of2017. Zhao was dismissed from Virginia Tech on February 5, 2018. The

occurrence of three contemporaneous events give rise to Zhao's claims in this action

brought under 42 U.S.C. § 1983.

       The first event is Zhao's arrest on January 29, 2018 for illegal possession of an assault

rifle by a non-United States citizen or permanent resident, in violation of Virginia Code§

18.2-308.2:01. Those charges are still pending and are set for trial in Montgomery County

Circuit Court on Monday, September 24, 2018.

       The second event is Virginia Tech's notification to the Department of Homeland

Security via the Student and Exchange Visitor Information System (SEVIS) that Zhao had

dropped below the requisite number of credit hours to maintain his status as a full-time

student, as required by 8 C.P.R.§ 214.3(g)(2). This event also occurred on January 29, 2018.




Case 7:18-cv-00189-MFU Document 86 Filed 09/21/18 Page 1 of 8 Pageid#: 1689
Two days later, Zhao was issued a notice to appear by the Department of Homeland

Security, stating he was removable from the United States because he failed to maintain his

status as a full-time student.

        The third event is a student conduct hearing that was held in Zhao's absence on

February 2, 2018, four days after Zhao's arrest and the termination of his SEVIS status. At

the time, Zhao was incarcerated on the gun charge. This hearing stemmed from his alleged

possession of a prohibited knife on campus on two separate occasions. 1 Zhao was aware of

this hearing, which had been scheduled prior to his arrest and incarceration. He met with

Student Conduct Coordinator Kyle Rose on January 26, 2018 to discuss the hearing. Zhao

alleges that on January 31, 2018, after his arrest on the gun charge, he used his one of his

two free phone calls from jail to contact Kyle Rose and ask him to reschedule the student

conduct hearing due to his incarceration. Zhao claims he had no money to make additional

calls or contact Virginia Tech by any other means. Virginia Tech did not reschedule the

hearing. In absentia, Zhao was found responsible for two counts of unauthorized possession

of a weapon on campus and two counts of failure to comply with a university official. On

February 5, 2018, Zhao was dismissed from the university. His appeal was denied.

         Zhao is now in the custody of the U.S. Immigration and Customs Enforcement

Agency (ICE) in Farmville, Virginia. 2 He was denied bond, and his next immigration hearing

is Thursday, September 28, 2018.




1 The first occasion was January 6, 2018, following contact with Virginia Tech police. The second was during execution
of a search warrant following his January 29 arrest. Zhao was placed on interim suspension, and these two alleged
violations of the student conduct policy were combined into one hearing, which was scheduled for February 2, 2018.
2 Zhao was transferred to ICE custody after being released on bond on his gun charge pending in Montgomery County.



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Case 7:18-cv-00189-MFU Document 86 Filed 09/21/18 Page 2 of 8 Pageid#: 1690
          Currently before the court is the third iteration of Zhao's complaint, 3 alleging

violations of his due process rights against Virginia Tech and two administrators in their

individual and official capacities. In this, his second amended complaint, Zhao seeks

injunctive and declaratory relief, punitive damages, and attorney's fees. On September 19,

2018, the parties appeared for oral argument on Zhao's third motion for preliminary

injunction and Virginia Tech's third motion to dismiss pursuant to Rule 12(b)(6) of the

Federal Rules of Civil Procedure.

          This opinion addresses the arguments raised in Zhao's motion for preliminary

injunction (ECF No. 70). 4 In that motion, Zhao asks the court to compel Virginia Tech to

reissue Zhao a Form I-20, 5 so that he can regain his F-1 student visa and be released from

ICE custody. However, because Zhao is unlikely to succeed on the merits of his due process

claim concerning termination of his SEVIS status, the court will DENY Zhao's request for

relief.

                                                         I.

          The purpose of a preliminary injunction "is to protect the status quo and to prevent

irreparable harm during the pendency of a lawsuit ultimately to preserve the court's ability to

render a meaningful judgment on the merits." In re Microsoft Corp. Antitrust Litig., 333

F.3d 517, 525 (4th Cir. 2003), abrogation on other grounds by eBay, Inc. v. MercExchange,

LLC, 547 U.S. 388 (2006). To that end, "preliminary injunctions are extraordinary



3 The court previously held hearings on June 18,2018 and July 30,2018 on Zhao's first two complaints and motions for
preliminary injunction and Virginia Tech's corresponding motions to dismiss.
4 The court's rulings as to Virginia Tech's third motion to dismiss will be articulated in a separate opinion.
5 Form I-20 is a Certificate of Eligibility for Nonimmigrant (F-1) Student Status-- For Academic and Language

Students.

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Case 7:18-cv-00189-MFU Document 86 Filed 09/21/18 Page 3 of 8 Pageid#: 1691
interlocutory remedies that are granted in limited circumstances and then only sparingly." Id.

at 526.

          In order to prove he is entitled to this extraordinary relief, Zhao must establish that

he is (1) he is likely to succeed on the merits of his due process claim, (2) that he is likely to

suffer irreparable harm in the absence of preliminary relief, (3) that the balance of equities

tips in his favor, and (4) that an injunction is in the public interest. Winter v. Natural Res.

Def. Council, Inc., 555 U.S. 7, 20 (2008).

          The Fourteenth Amendment and Fifth Amendment prevent states and the federal

government, respectively, from "depriving individuals of life, liberty, or property without

due process oflaw." U.S. Const., amend. XIV,§ 1, amend. V. Zhao contends that Virginia

Tech unlawfully deprived him of two vested property interests-his right to enrollment as a

student at Virginia Tech and his SEVIS status-without due process. He argues these

property interests are inextricably intertwined; but even if they are not, Zhao claims he has

an independent property interest in his SEVIS status. As explained in detail below, the court

finds that Zhao's property interest in continued enrollment at Virginia Tech is factually

distinct from his SEVIS status, and that Zhao did not possess, nor is there any legal basis for

recognizing, an independent, stand-alone property interest in his SEVIS status.

                                                 A.
          Under federal law, a university that admits international students must comply with

specific federal regulations governing the maintenance of data related to a student's F-1 visa

status through SEVIS. The SEVIS database "tracks the entry, stay, and.exit of foreign

students in the United States." Defs.' Br. in Opp. to Pl.'s Renewed Mot. for Prel. Inj., ECF


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Case 7:18-cv-00189-MFU Document 86 Filed 09/21/18 Page 4 of 8 Pageid#: 1692
No. 43, at 3. Through this system, a designated student official transmits student data via the

SEVIS database to the U.S. Department of Homeland Security for review.

       Here, Zhao alleges that prior to modifying his status in the SEVIS database to reflect

his failure to satisfy the federally mandated threshold of twelve credits, due process required

that he receive notice and a hearing. The basis for this due process claim is that Zhao's

"SEVIS record at Virginia Tech ... is inextricable from his vested property interest to attend

school at Virginia Tech," Pl.'s Third Mot. for Prel. Inj., ECF No. 70, at 18, and thus due

process protections extend to changes made to his SEVIS record.

       The facts before the court indicate that the plai~tiffs SEVIS status and property

interest in continued enrollment at Virginia Tech are, contrary to plaintiffs claim, divisible.

Indeed, Virginia Tech stated that it does not prohibit students from continuing enrollment

based upon either their SEVIS status specifically or immigration status generally. In a prior

federal action, Virginia Tech stated that it "does not take immigration status into account in

either admissions or enrollment." Equal Access Education v. Merton, 305 F. Supp. 2d 585

(2004) (Briefby Defendants In Support of Motion for Summary Judgment, flledJune 8,

2004, ~ 81). Furthermore, there is no evidence in the record suggesting that the ministerial

act of modifying Zhao's SEVIS record as required by federal law resulted in the termination

of his enrollment at Virginia Tech. Instead, the termination of a student's SEVIS status

results in a "hold," requiring that the student confer with Virginia Tech officials prior to

registering for a new academic term. Defs.' Br. in Opp. to Pl.'s Renewed Mot. for Prel. Inj.,

ECF No. 43, at 2-3. The affidavit from the deputy registrar indicates that Virginia Tech did

not consider Zhao officially dismissed until after the unrelated student conduct hearing was


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Case 7:18-cv-00189-MFU Document 86 Filed 09/21/18 Page 5 of 8 Pageid#: 1693
held. In other words, the termination of Zhao's property interest in continued enrollment

was factually unrelated to the change in his SEVIS status.

       Insofar as the modification of Zhao's SEVIS record implicates his F-1 visa and

immigration status, whatever due process he is owed with respect to these issues is the

prerogative of and provided for in the immigration courts, not the hallways of Virginia Tech.

Virginia Tech's termination of Zhao's SEVIS status neither resulted in his deportation nor in

the revocation of his F-1 visa. Merely modifying Zhao's status in the SEVIS database, a

clerical duty performed as a preliminary matter and in accordance with federal regulations,

therefore does not itself engender due process protections. For his part, Virginia Tech's

designated school official, defendant David Clubb, stated that he "lacked the discretion or

authority to retain Zhao as a student," and that in updating Zhao's SEVIS record, he was

"fulfill[ing] my obligation required by U.S. Immigration and Customs Enforcement to

immediately report Mr. Zhao's noncompliance" with SEVIS. Clubb Decl., ECF No. 15, at

Ex. A. Ultimately, it is the immigration courts, and not Virginia Tech, that will adjudicate

Zhao's immigration status, and there is no contention in this case that Zhao's immigration

proceedings have lacked due process protections.

                                               B.
       Zhao argues in the alternative that even if his SEVIS status is held to be separable

from his property interest in continued enrollment, defendants nonetheless still violated his

due process rights because he possessed an independent property interest in his SEVIS

status. The plaintiff does not proffer any legal basis for this claim. Indeed, the only case

specifically addressing the question of whether a student possesses a property interest in his


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Case 7:18-cv-00189-MFU Document 86 Filed 09/21/18 Page 6 of 8 Pageid#: 1694
or her SEVIS status giving rise to due process protections concludes that there is not. In that

case, Bakhtiari v. Beyer, the district court determined that neither the SEVIS regulations nor

the enabling legislation indicate any congressional intent to create a private right of action or

to otherwise benefit a person in the plaintiff's position. No. 4:06-CV-01489(CEJ), 2008 WL

3200820, at *3 (E.D. Mo. Aug. 6, 2008). Furthermore, in Fan v. Brewer, a case later affirmed

by the Fifth Circuit, the district court held that merely updating a student's SEVIS record to

reflect their changed academic status did not violate any constitutional right. Fan v. Brewer,

No. CIV.A.H-08-3524, 2009 WL 1743824, at *8 (S.D. Tex. June 17, 2009), aff'd sub nom.

Fenghui Fan v. Brewer, 377 F. App'x 366 (5th Cir. 2010). The Fifth Circuit, in affirming the

district court, noted that by updating the SEVIS database, the employee in question was

"merely fulfilling her duty under federal law." 377 F. App'x at 368. Finally, Zhao failed to

cite any regulation requiring Virginia Tech or any other university to provide notice and a

hearing before changing his SEVIS status.

         Because there is no precedent supporting Zhao's contention that his SEVIS status

constitutes an independent property interest implicating due process, and because changing

his SEVIS status does not invariably implicate his property interest in continued enrollment

at Virginia Tech, adjusting Zhao's SEVIS record without prior notice and a hearing did not

violate any constitutional right to due process. Zhao cannot succeed on the merits of his due

process claim as to termination of his SEVIS status.

         As Zhao has not satisfied one of the required elements for issuance of a preliminary

injunction, the court need not address the remaining factors articulated in Winter, 555 U.S.

at 20.


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Case 7:18-cv-00189-MFU Document 86 Filed 09/21/18 Page 7 of 8 Pageid#: 1695
                                                     II.

       Simply put, this is not one of the limited circumstances in which preliminary

injunctive relief is appropriate. There is no need for the court to protect the status quo in

order to "preserve the court's ability in the end to render a meaningful judgment on the

merits," because Zhao cannot succeed on the merits of this due process claim. In re

Microsoft, 333 F.3d at 526. As such, his motion for preliminary injunction must be denied.

       An appropriate order will be   enter,e~~


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Case 7:18-cv-00189-MFU Document 86 Filed 09/21/18 Page 8 of 8 Pageid#: 1696
